Case 1:25-cv-10380 Documenti1-2 Filed 02/13/25 Pagelof1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS SHS

Title of case (name of first party on each side only)_Randall Clark v 32 Sports Inc. et al

Srey pete ban tt .o
Pa PER Go EN ees

Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local: or
rule 40.1(a}(1)). woe . 3

160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

Ul. 110, 130, 190, 186, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.
[| IU. 120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,

365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

Has a prior action between the same parties and based on the same claim ever Ty in this court?
YES NO

Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES LJ NO
YES LJ NO [

Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847
ves L] no

Do all of the parties in this action, excluding governmental agencies of the United States and the Commonweaalth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in “Ty | division? - vl Rule 40.1(d)).

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES NO
A. If yes, in which divist all of the non-governmental parties reside?
Eastern Division Py Central Division | Western Division [ |
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division Central Division LJ Western Division LJ

If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
submit a separate sheet identifying the motions)
vs L] wo UL

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Randall Clark

ADDRESS 122 Sharon Street Medford, Ma 02155
TELEPHONE NO. 508-371-5287

(CategoryForm11-2020.wpd }
